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Western District of Tennessee

sara m.£.`f_,§:-?._.£§W

 

United States of Amerlca T|ME: n 7 4 3¢{5:$5,\;{;:,%
v. ENFW.AE_S; , =_Wm=_._n
Lakesa Borner Case No. 05-10022-T/An

ORDER SPECIFYING PERIOD OF EXCLUDABLE DELAY
UNDER THE SPEEDY TRIAL ACT

The defendant has this day notified the Court that she is attempting to obtain private counsel
to represent her in this action. Pursuant to the Speedy Trial Act, as set out in 18 U.S.C. §
316l(h)(8)(B)(iv), a defendant may be granted a period of excludable delay while attempting to
obtain private counsel.

IT IS THEREFORE ORDERED that the time period of April 22, 2005, through May 3, 2005
be excluded from the time limits imposed by the Speedy Trial Act for trial of this case, While the
defendant is attempting to obtain private counsel.

This 22nd day of April, 2005.

Sr.'_|_/’Twnm @--

UNITED STATES MAGISTRATE IUDGE

This document entered on the docket sheet in compliance
with Rule 55 andjor Rule 32(b) FRCrP on :| l § ‘71 ©S

 

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Honorable J ames Todd
US DISTRICT COURT

